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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

1776 MASS AVE RE LLC, a Delaware
limited liability company,

                        Plaintiff,
                                                    Case No. 1:21-cv-01588-CJN
v.

CONFUCIUS INSTITUTE US CENTER,
INC., a District of Columbia Corporation,

                        Defendant.


                  REQUEST FOR RELEASE OF FUNDS - ATTACHMENT

       Plaintiff 1776 Mass Ave RE LLC (“Plaintiff” or “Judgment Creditor”) by its attorneys and

pursuant to D.C. Code § 16-556, hereby files this Request for Release of Funds and in support

thereof, states as follows:

       1. On August 20, 2021, this Court entered Judgment against Judgment Debtor Confucius

Institute US Center, Inc. (“Judgment Debtor”) in the amount of $323,833.46 with interest at 0.08

percent from the date of the judgment (“Judgment”).

       2. On January 29, 2024, this Court issued a Writ of Attachment on Judgment Other than

Wages, Salary and Commissions to Garnishee Wells Fargo Bank, N.A. (“Garnishee”) against

Judgment Debtor in favor of Judgment Creditor (the “Writ”) and a to attach any and all funds,

monies, credits, accounts receivables, or other assets payable from the Garnishee, which are in or

may come into the hands of the said Garnishee. A copy of the Writ is attached hereto as Exhibit A.

       3. On February 6, 2024, the Writ was served by private process upon Garnishee. A copy

of the Affidavit of Service is attached hereto as Exhibit B.
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       4. On or about February 21, 2024, Garnishee served a response to the Writ,1 which

stated that Garnishee held funds at the time of service of the Writ for Judgment Debtor in the

total amount of $2,790.19 (“Answer”). A copy of the Answer is attached hereto as Exhibit C.

       5.        At least thirty (30) days have passed since service of the Writ of Attachment upon

Garnishee.

       WHEREFORE, Plaintiff 1776 Mass Ave RE LLC requests this Court enter an order in

favor of Plaintiff directing Garnishee Wells Fargo Bank, N.A. to release the funds in its

possession in the amount of $2,790.19 to Plaintiff and such other and further relief as may be just

and equitable.

        Dated: March 15, 2024                         Respectfully submitted,

                                                      BALLARD SPAHR LLP

                                                      /s/ Christopher A. Hatfield
                                                      Constantinos G. Panagopoulos (#430932)
                                                      Christopher A. Hatfield (#1024182)
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                                                      Counsel for Plaintiff




1
  Judgment Creditor had previously served Garnishee with a similar writ, to which Garnishee had
responded and which writ was dismissed by the Court by Minute Order on January 17, 2024.
Garnishee has included its response to the previous writ in its Answer, but the final page of the
Answer contains the clearly-updated response to service of the Writ on February 6, which is
dated February 21, 2024. See Ex. C at 7.
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                               CERTIFICATE OF SERVICE

       I certify that on March 15, 2024, I served the foregoing Request for Release of Funds –

Attachment to the following via United States mail:

       Confucius Institute US Center, Inc.
       c/o Corporation Service Company, Registered Agent
       1090 Vermont Avenue, NW
       Washington, DC 20005

       Wells Fargo Bank, N.A.
       2001 K Street, Northwest
       Suite 103
       Washington, DC 20006

                                                  /s/ Christopher A. Hatfield
                                                  Christopher A. Hatfield
